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10                                UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
12                                    SAN FRANCISCO DIVISION
13
14   UNITED STATES OF AMERICA,                    )       No. CR 05-00395 CRB
                                                  )
15           Plaintiff,                           )       REQUEST, STIPULATION AND ORDER
                                                  )
16      v.                                        )
                                                  )
17   HYE CHA KIM,                                 )
                                                  )
18           Defendant.                           )
                                                  )
19
             This matter is currently on the Court’s calendar for July 26, 2006. Through counsel,
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     defendant Hye Cha Kim and the United States ask the Court to (a) vacate the July 26, 2006 date
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     based on the parties’ on-going plea negotiations, (b) set a date of August 16, 2006 for
22
     status/change-of-plea, and (c) exclude time under the Speedy Trial Act, 18 U.S.C. § 3161 from
23
     July 26, 2006, to August 16, 2006.
24
        1. The parties are currently engaged in plea negotiations and request that the Court set the
25
     matter for August 16, 2006, for status/change-of-plea.
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        2. Recently, the government provided defense counsel with additional discovery (including
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     two binders with hundreds of pages of reports and information) and thereafter the parties met
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     ORDER
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1    twice to discuss a negotiated disposition of the matter. The parties anticipate further discussions
2    to resolve the case..
3        3. The parties agree that the time between July 26, 2006 and August 16, 2006 should be
4    excluded from the Speedy Trial clock. Previously, the Court has declared this case complex.
5    See 18 U.S.C. § 3161(h)(8)(B)(ii). Further, defense counsel needs time to review additional
6    materials from the government and investigate the immigration consequences of a plea
7    agreement. These matters require a short time to address, and so the parties agree that a
8    continuance is necessary for the effective preparation of defense counsel, taking into account the
9    exercise of due diligence. See 18 U.S.C. § 3161(h)(8)(B)(iv). The parties also agree that the
10   ends of justice served by excluding the period from July 26, 2006 to August 16, 2006 outweigh
11   the interest of the public and the defendant in a Speedy Trial. See id. § 3161(h)(8)(A).
12       STIPULATED:
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14
      July 20, 2006                                   /S/ PETER B. AXELROD
15   DATE                                          PETER B. AXELROD
                                                   LAUREL BEELER
16                                                 Assistant United States Attorneys
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18
       July 20, 2006                                 /S/ SCOTT SUGARMAN
19   DATE                                          SCOTT SUGARMAN
                                                   Attorney for Hye Cha Kim
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21
22                                                ORDER
23       For good cause shown, and for the reasons stated above, the Court (a) vacates the July 26,
24   2006, hearing date for defendant Hye Cha Kim based on the on-going plea negotiations, (b) sets
25   the matter for status/change-of-plea on August 16, 2006, at 2:15 p.m., and (c) excludes times
26   under the Speedy Trial Act, 18 U.S.C. § 3161, from July 26, 2006, to August 16, 2006. The
27   Court finds that the failure to grant the requested exclusion would deny defense counsel
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     ORDER
     CR 05-00395 CRB
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1    reasonable time necessary for effective preparation taking into account the exercise of due
2    diligence. Further, the Court finds the exclusion warranted on complexity grounds, under 18
3    U.S.C. § 3161(h)(8)(B)(ii). Thus, the Court finds that the ends of justice served by granting the
4    requested exclusion outweigh the best interest of the public and the defendant in a speedy trial
5    and in the prompt disposition of criminal cases. The Court therefore concludes that this
6    exclusion of time should be made under 18 U.S.C. §§ 3161(h)(8)(A), (h)(8)(B)(ii) and
7    (h)(8)(B)(iv).
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8       IT IS SO ORDERED.
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10           July 24, 2006
     DATED:________________                                  S O
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                                                     IT
                                                  CHARLES      R. BREYER




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11                                                United States District Judge
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     ORDER
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